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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-075-CV





IN RE LESLIE RAY LAMBERT	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus. &nbsp;No petition for bill of review could be located. &nbsp;The court is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.



PER CURIAM





PANEL A: &nbsp;DAUPHINOT, J.; CAYCE, C.J.; and MCCOY, J.



DELIVERED: &nbsp;March 4, 2008

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




